Case 17-72345-pwb      Doc 82      Filed 09/27/19 Entered 09/27/19 17:03:15        Desc Main
                                   Document     Page 1 of 5



                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

       IN RE:                        )     CASE NO. 17-72345-pwb
                                     )
     SOLID ESTATE INVESTMENTS, LLC   )     CHAPTER 11
                                     )
           Debtor.                   )
==================================================================


              DEBTOR’S FINAL ADMINISTRATIVE EXPENSE REPORT


       COMES NOW the above-named Debtor and, pursuant to BLR 3022-1(b) files this Final

Administrative Expense Report.

       Debtor has substantially consummated the Plan and shows the following administrative

expenses have been awarded or paid

       1.    Trustee Compensation                                0.00

       2.    Attorney for Trustee Compensation                   0.00

       3.    Attorney for Debtor Compensation                    $17,441.51.plus

                                                                 $13,235.83 pending approval

       4.    Other Professional Compensation                     0.00

       5.    All Direct Expenses                                 Paid by DIP Account

       6.    US Trustee Quarterly Fees                           Paid through Q3 2019



       Distributions under the confirmed Plan have commenced and the Plan has been

“substantially consummated” as defined in 11 USC § 1101(2).

       An Application for Final Decree has been filed on the date herewith



                                               3
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                                   Document     Page 2 of 5




Draft prepared and submitted by:

Debtor in Possession, by
SLIPAKOFF & SLOMKA, PC

By: /s/ ________________________
Howard P. Slomka, Esquire
Georgia Bar No. 652875
2875 Paces Ferry Rd, SE, Suite 1700
Atlanta, Georgia 30339
(404) 800-4017 (telephone)
hs@myatllaw.com (e-mail)
Case 17-72345-pwb      Doc 82    Filed 09/27/19 Entered 09/27/19 17:03:15      Desc Main
                                 Document     Page 3 of 5



                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

       IN RE:                        )     CASE NO. 17-72345-pwb
                                     )
     SOLID ESTATE INVESTMENTS, LLC   )     CHAPTER 11
                                     )
           Debtor.                   )
==================================================================

                              CERTIFICATE OF SERVICE

     This is to certify that I have this day served the foregoing DEBTOR’S FINAL
 ADMINISTRATIVE EXPENSE REPORT upon the following by email and the ECF system.


                                   [see attached Creditors]

 Dated this 27TH day of September, 2019


                                                 By: /s/ Howard P. Slomka, Esquire
                                                 Georgia Bar #652875
                                                 2859 Paces Ferry Rd. SE.
                                                 Suite 1700
                                                 Atlanta, Georgia 30339
                                                 Attorney for Debtor
Label Matrix forCase    17-72345-pwb
                  local noticing       Doc 82
                                            Angle Filed  09/27/19
                                                  Oak Prime Bridge, LLC Entered 09/27/19 17:03:15       Desc Main
                                                                                         Mark Allan Baker
113E-1                                           Document
                                            3060 Peachtree Road NW  Page  4 of 5         McMichael Taylor Gray, LLC
Case 17-72345-pwb                            Ste. 500                                     Suite 260
Northern District of Georgia                 Atlanta, GA 30305-2239                       3550 Engineering Drive
Atlanta                                                                                   Peachtree Corners, GA 30092-2871
Fri Sep 27 13:00:52 EDT 2019
Chevron and Texaco Business Ca               DeKalb County Tax Commissioner               DeKalb County, Georgia
PO Box 921729                                4380 Memorial Drive                          c/o Taylor English Duma LLP
Norcross, GA 30010-1729                      Suite 100                                    1600 Parkwood Circle
                                             Decatur, GA 30032-1239                       Suite 200
                                                                                          Atlanta, GA 30339-2119

DeKalb Tax Commissioner                      Department of the Treasury                   (p)GEORGIA DEPARTMENT OF REVENUE
PO Box 100004                                Internal Revenue Service                     COMPLIANCE DIVISION
Decatur, GA 30031-7004                       P.O. Box 7346                                ARCS BANKRUPTCY
                                             Philadelphia PA 19101-7346                   1800 CENTURY BLVD NE SUITE 9100
                                                                                          ATLANTA GA 30345-3202

Golden Harvest Realty, LLC                   Golden Harvest Realty, LLC                   Gwinett County Tax Commission
c/o Leon Van Gelderen, Esq.                  c/o Leon Van Gelderen, PC                    PO Box 372
Leon Van Gelderen, PC                        2300 Henderson Mill Rd., Ste 300             Lawrenceville, GA 30046-0372
Suite 300                                    Atlanta, GA 30345-2704
2300 Henderson Mill Rd, NE
Atlanta, GA 30345-2704
Gwinett County Tax Commissione               Gwinnet County Tax Commission                Gwinnett County Dept of Water
PO Box 372                                   PO Box 372                                   684 Winder Highway
Lawrenceville, GA 30046-0372                 Lawrenceville, GA 30046-0372                 Lawrenceville, GA 30045-6940



Gwinnett County Tax Commission               Gwinnett County Tax Commissioner             Internal Revenue Service
PO Box 372                                   P.O. Box 372                                 P. O. Box 7346
Lawrenceville, GA 30046-0372                 Lawrenceville, GA 30046-0372                 Philadelphia, PA 19101-7346



Lindsay P. S. Kolba                          Leon Van Gelederen, P.C.                     James H. Morawetz
Office of the U.S. Trustee                   2300 Henderson Mill Road NE                  Office of U.S. Trustee
Suite 362                                    Suite 300                                    362 Richard Russell Bldg.
75 Ted Turner Drive, S.W.                    Atlanta, GA 30345-2704                       75 Ted Turner Drive, SW
Atlanta, GA 30303-3330                                                                    Atlanta, GA 30303-3330

Martin P. Ochs                               John K. Rezac                                SOLID ESTATE INVESTMENTS, LLC
Office of the U. S. Trustee                  Taylor English Duma LLP                      c/o Allen Richardson
362 Richard Russell Federal Bldg.            1600 Parkwood Circle                         574 HARALSON DRIVE SW
75 Ted Turner Drive, SW                      Suite 200                                    Lilburn, GA 30047-5377
Atlanta, GA 30303-3330                       Atlanta, GA 30339-2119

Secretary of the Treasury                    Silver Harvest Realty, LLC                   Silver Harvest Realty, LLC
15th & Pennsylvania Avenue, NW               c/o Leon Van Gelderen, Esq.                  1103 Promontory Drive
Washington, DC 20200                         Leon Van Gelderen, PC                        Marietta, GA 30062-2987
                                             Suite 300
                                             2300 Henderson Mill Rd., NE
                                             Atlanta, GA 30345-2704
Silver Harvest Realty, LLC                   Howard P. Slomka                             U. S. Attorney
Leon Van Gelderen, Esq.                      Slipakoff & Slomka, PC                       600 Richard B. Russell Bldg.
2300 Henderson Mill Rd. NE                   Suite 2100                                   75 Ted Turner Drive, SW
Ste 300                                      3350 Riverwood Parkway                       Atlanta GA 30303-3315
Atlanta, GA 30345-2704                       Atlanta, GA 30339-3363
U. S. SecuritiesCase   17-72345-pwb
                 and Exchange Commission     Doc 82
                                                  UnitedFiled
                                                         States 09/27/19
                                                                Trustee      Entered 09/27/19 17:03:15
                                                                                              Leon Arthur VanDesc   Main
                                                                                                              Gelderen
Office of Reorganization                               Document           Page
                                                  362 Richard B Russell Bldg   5 of 5         Leon A. Van Gelderen, PC
Suite 900                                            75 Ted Turner Drive, SW                              Suite 300
950 East Paces Ferry Road, NE                        Atlanta, GA 30303-3315                               2300 Henderson Mill Road
Atlanta, GA 30326-1382                                                                                    Atlanta, GA 30345-2704

Walton EMC                                           Wells Fargo Business Secured
PO BOX 260                                           PO Box 77033
Monroe, GA 30655-0260                                Minneapolis, MN 55480-7733




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue
Bankruptcy Division
Post Office Box 161108
Atlanta, GA 30321




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Gwinnett County Tax Commission                    (d)Internal Revenue Service                          (u)U.S. Bank National Association
PO Box 372                                           PO Box 7346
Lawrenceville, GA 30046-0372                         Philadelphia, PA 19101-7346



End of Label Matrix
Mailable recipients     34
Bypassed recipients      3
Total                   37
